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        United States Court of Appeals
                FOR THE DISTRICT OF COLUMBIA CIRCUIT



       Argued November 10, 2021             Decided March 11, 2022

                              No. 21-7003

           PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED,
                             APPELLEE

                                    v.

            FEDERAL REPUBLIC OF NIGERIA AND MINISTRY OF
          PETROLEUM RESOURCES OF THE FEDERAL REPUBLIC OF
                             NIGERIA,
                           APPELLANTS


               Appeal from the United States District Court
                       for the District of Columbia
                           (No. 1:18-cv-00594)


           Christopher J. Major argued the cause for appellants.
       With him on the briefs were David F. Geneson and Alexander
       Pencu.

            Josef M. Klazen argued the cause for appellee. With him
       on the brief were Darryl G. Stein and Michael S. Kim.

            Brian M. Boynton, Acting Assistant Attorney General,
       U.S. Department of Justice, Sharon Swingle and Sarah Clark,
       Attorneys, were on the brief for amicus curiae the United
       States.
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           Before: HENDERSON, MILLETT and WALKER, Circuit
       Judges.

           Opinion for the Court filed by Circuit Judge HENDERSON.

            KAREN LECRAFT HENDERSON, Circuit Judge: Process and
       Industrial Developments Limited (“P&ID”) petitioned for
       confirmation of an arbitral award against the Federal Republic
       of Nigeria and its Ministry of Petroleum Resources
       (collectively, “Nigeria”) that today stands at roughly
       $10 billion. Nigeria moved to dismiss for lack of jurisdiction
       and asserted sovereign immunity under the Foreign Sovereign
       Immunities Act (“FSIA”). 28 U.S.C. § 1602 et seq. The district
       court denied the motion on the ground that Nigeria impliedly
       waived sovereign immunity by joining The Convention on the
       Recognition and Enforcement of Foreign Arbitral Awards
       (“New York Convention”), June 10, 1958, 21 U.S.T. 2517—
       an international treaty obligating member states to recognize
       and enforce arbitral awards issued in other member states—and
       agreeing to arbitrate its dispute with P&ID in a Convention
       state. See 28 U.S.C. § 1605(a)(1). We affirm but rely instead
       on the arbitration exception to the FSIA. See id. § 1605(a)(6).
       We conclude that a foreign court’s order ostensibly setting
       aside an arbitral award has no bearing on the district court’s
       jurisdiction and is instead an affirmative defense properly
       suited for consideration at the merits stage.

                                     I.

            P&ID is an engineering and project management company
       started by two Irish nationals in 2006 to implement an energy
       project in Nigeria. In January 2010, P&ID and Nigeria entered
       a 20-year natural gas supply and processing agreement. Nigeria
       supplied P&ID with agreed-upon quantities of natural gas,
       which P&ID refined for Nigeria’s use to power its national
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       electric grid. In exchange, P&ID stripped away certain valuable
       by-products in the refining process for its own use. The
       agreement was “governed by, and construed in accordance
       with[,] the laws of the Federal Republic of Nigeria,” disputes
       arising under the agreement were subject to arbitration under
       the rules of the Nigerian Arbitration and Conciliation Act and,
       unless the parties agreed otherwise, the arbitration venue was
       London, England.

            In August 2012, P&ID initiated arbitration proceedings in
       London, alleging that Nigeria failed both to supply the agreed-
       upon quantity of natural gas to P&ID and to construct the
       necessary pipeline infrastructure. In July 2014, the arbitral
       tribunal first ruled that it had jurisdiction of the dispute and
       then, addressing the issue of liability in July 2015, determined
       that Nigeria had breached the agreement.

            Nigeria first sought relief in England’s courts, requesting
       that the arbitral tribunal’s liability determination be set aside,
       but in February 2016 the High Court of Justice in London
       denied Nigeria’s application on the ground that Nigeria had
       filed it more than four months past the deadline and an
       extension was not warranted. Soon thereafter, Nigeria sought a
       set-aside order in its own courts and the Federal High Court of
       Nigeria in May 2016 issued an order “setting aside and/or
       remitting for further consideration all or part of the arbitration
       Award.” The Nigerian court’s set-aside order offered no
       reasoning or explanation for its decision.

            Meanwhile, the arbitration proceedings continued in
       London. After the tribunal concluded that the Nigerian court
       lacked jurisdiction to set aside the liability determination, it
       awarded P&ID nearly $6.6 billion plus interest in damages for
       lost profits. Including accrued interest, the arbitral award now
       amounts to more than $10 billion.
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            P&ID first sought to enforce the award in England and, in
       August 2019, the English High Court of Justice concluded that
       the award was enforceable. In the meantime, Nigeria had
       commenced a criminal investigation into P&ID’s procurement
       of the natural gas agreement and subsequently applied in
       December 2019 to the High Court of Justice to extend the
       deadline to challenge the award based on what it characterized
       as new evidence of fraud in the arbitration and underlying
       contract negotiations. The English court granted the request on
       the ground that Nigeria had “established a strong prima facie
       case” of P&ID’s fraud and bribery in procuring the agreement
       and during the arbitration proceedings. To date, the English
       court has not set aside the arbitral award and a trial on these
       issues is scheduled to begin in January 2023.

            In 2018, P&ID petitioned the district court to confirm the
       arbitral award and reduce the award to a judgment pursuant to
       the Federal Arbitration Act (“FAA”), 9 U.S.C. § 201 et seq.
       The FAA provides that the New York Convention is
       enforceable in the courts of the United States, to which courts
       a party may apply for an order confirming an arbitral award
       issued under the Convention. Id. §§ 201, 207. Nigeria moved
       to dismiss for lack of subject matter jurisdiction under the
       FSIA, to which P&ID responded with a motion of its own,
       seeking an order requiring Nigeria to present both its
       jurisdictional and merits defenses in a single response to
       P&ID’s petition to confirm the award. The district court
       granted P&ID’s motion and ordered Nigeria to file a response
       presenting its “merits arguments” as well as its immunity and
       other jurisdictional defenses. Process & Indus. Devs. Ltd. v.
       Fed. Republic of Nigeria, No. 18-cv-594, 2018 WL 8997443,
       at *3 (D.D.C. Oct. 1, 2018).

           Nigeria pursued an interlocutory appeal, arguing that it
       was entitled to a ruling on its sovereign-immunity defense
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       before being required to present its merits defenses. This court
       agreed, reversing the order granting P&ID’s motion and
       remanding to the district court because it “impermissibly
       ordered Nigeria to brief the merits while its colorable immunity
       assertion remains pending.” Process & Indus. Devs. Ltd. v.
       Fed. Republic of Nigeria, 962 F.3d 576, 586–87 (D.C. Cir.
       2020). We held that “[b]ecause the immunity protects foreign
       sovereigns from suit, it must be decided at the threshold of
       every action in which it is asserted.” Id. at 584 (internal
       quotation marks and citation omitted). We declined to
       determine whether Nigeria would prevail on its immunity
       defense but we noted that Nigeria’s arguments with respect to
       two exceptions to sovereign immunity—the waiver exception
       and the arbitration exception—were at least colorable. Id. at
       583–84.

            On remand, Nigeria again moved to dismiss for lack of
       subject matter jurisdiction under the FSIA and requested a stay
       pending the outcome of the litigation in England. P&ID argued
       that the district court had jurisdiction under the waiver
       exception, 28 U.S.C. § 1605(a)(1), and the arbitration
       exception, id. § 1605(a)(6), to FSIA immunity and that a stay
       would be inefficient and prejudicial to its interests. First, the
       district court “decline[d] to stay the case, without prejudice to
       any future request for a stay.”1 Process & Indus. Devs. Ltd. v.
       Fed. Republic of Nigeria, 506 F. Supp. 3d 1, 5–6 (D.D.C.
       2020). It then concluded that it had subject matter jurisdiction
       because Nigeria’s sovereign immunity had been abrogated by
       the FSIA’s waiver exception. Id. at 6. The district court
       reasoned that Nigeria impliedly waived its sovereign immunity
       to the confirmation action by becoming a party to the New


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               Nigeria does not challenge this portion of the district court’s
       ruling. Its challenge is limited to the denial of its motion to dismiss
       for lack of subject matter jurisdiction based on sovereign immunity.
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       York Convention and agreeing to arbitrate its dispute with
       P&ID in a Convention state. Id. at 6–10. Finding our Circuit
       law on this application of the waiver exception unsettled, it
       followed the Second Circuit’s leading case on the issue. Id. at
       7–8 (citing Seetransport Wiking Trader Schiffarhtsgesellschaft
       MBH & Co., Kommanditgesellschaft v. Navimpex Centrala
       Navala, 989 F.2d 572 (2d Cir. 1993)). Although we have
       favorably cited Seetransport and its reasoning in dicta and in
       an unpublished opinion, we have not formally adopted it. See
       Tatneft v. Ukraine, 771 F. App’x 9, 9–10 (D.C. Cir. 2019)
       (holding that the waiver exception applies if the foreign
       sovereign is a party to the New York Convention and has
       agreed to arbitrate in a Convention state), cert. denied
       140 S. Ct. 901 (2020); Creighton Ltd. v. Gov’t of State of
       Qatar, 181 F.3d 118, 123 (D.C. Cir. 1999) (noting that the
       Second Circuit’s reasoning in Seetransport is likely correct).
       The district court declined to address the arbitration exception
       and Nigeria’s argument that it is inapplicable because the
       Nigerian High Court had set aside the liability award. Id. at 6
       n.1. It noted that, notwithstanding the Nigerian court’s likely
       supervisory power to set aside the award, the implications of
       the set-aside order were arguably irrelevant to the jurisdictional
       analysis and properly suited for consideration at the merits
       stage. Id. Nigeria again seeks an interlocutory appeal.

                                      II.

            The district court’s subject matter jurisdiction vel non is
       the crux of Nigeria’s appeal. We have appellate jurisdiction
       pursuant to the collateral order doctrine. El-Hadad v. United
       Arab Emirates, 216 F.3d 29, 21 (D.C. Cir. 2000) (“The denial
       of a foreign state’s motion to dismiss on the ground of
       sovereign immunity is subject to interlocutory appeal under the
       collateral order doctrine.”). We review de novo a district
       court’s denial of a motion to dismiss on the sovereign immunity
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       ground. Kirkham v. Société Air France, 429 F.3d 288, 291
       (D.C. Cir. 2005).

                                       III.

            The New York Convention applies “to the recognition and
       enforcement of arbitral awards made in the territory of a State
       other than the State where the recognition and enforcement of
       such awards are sought.” New York Convention, art. I(1). It
       further provides that signatory states “shall recognize arbitral
       awards as binding and enforce them in accordance with the
       rules of procedure of the territory where the award is relied
       upon, under the conditions laid down in the . . . articles [of the
       Convention].” Id. at art. III. There is no dispute that the Federal
       Republic of Nigeria, the United States and the United
       Kingdom—the location of the arbitration proceedings—are
       signatories to the New York Convention.2 The Congress
       declared in the legislation implementing the Convention:

               An action or proceeding falling under the
               Convention shall be deemed to arise under the
               laws and treaties of the United States. The
               district courts of the United States . . . shall have
               original jurisdiction over such an action or




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               Nigeria and the United States acceded to the New York
       Convention in 1970 and the United Kingdom became a party to the
       Convention in 1975. See Contracting States, New York Arbitration
       Convention, available at https://www.newyorkconvention.org/
       countries (last visited Feb. 8, 2022).
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               proceeding, regardless of the amount in
               controversy.

       9 U.S.C. § 203.

            It is settled law that “[t]he FSIA is ‘the sole basis for
       obtaining jurisdiction over a foreign state in our courts’” in
       civil cases. Creighton, 181 F.3d at 121 (quoting Argentine
       Republic v. Amerada Hess Shipping Corp., 488 U.S. 428, 434
       (1989)). In civil cases, a foreign state is “presumptively
       immune from the jurisdiction of United States courts,” Saudi
       Arabia v. Nelson, 507 U.S. 349, 355 (1993), and that immunity
       is preserved unless one of the FSIA’s exceptions to sovereign
       immunity applies, see 28 U.S.C. § 1604 (“Subject to existing
       international agreements to which the United States is a party
       at the time of the enactment of this Act[,] a foreign state shall
       be immune from the jurisdiction of the courts of the United
       States and of the States except as provided in sections 1605 to
       1607.”).

            Two FSIA exceptions are relevant here: the waiver
       exception, id. § 1605(a)(1), and the arbitration exception, id.
       § 1605(a)(6). The district court grounded its ruling in the
       waiver exception, P&ID, 506 F. Supp. 3d at 6–11, and declined
       to resolve whether the arbitration exception applies, id. at 6 n.1.
       Because “as an appellate court, we can ‘affirm the District
       Court on any valid ground, and need not follow the same mode
       of analysis,’” we take a different approach. Baird v. Gotbaum,
       792 F.3d 166, 171 (D.C. Cir. 2015) (quoting Molerio v. FBI,
       749 F.2d 815, 820 (D.C. Cir. 1984)); see also de Csepel v.
       Republic of Hungary, 714 F.3d 591, 598 (D.C. Cir. 2013) (an
       appellate court may affirm the district court “on any basis
       supported by the record” (quoting Carney v. Am. Univ.,
       151 F.3d 1090, 1096 (D.C. Cir. 1998)). We decline to address
       the district court’s interpretation and application of the waiver
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       exception and instead find Nigeria’s sovereign immunity
       abrogated by the arbitration exception.3

            The FSIA’s arbitration exception provides:

                A foreign state shall not be immune from the
                jurisdiction of the courts of the United States or
                of the States in any case . . . in which the action
                is brought . . . to confirm an award made
                pursuant to . . . an agreement to arbitrate, if . . .
                the agreement or award is or may be governed
                by a treaty or other international agreement in
                force . . . calling for the recognition and
                enforcement of arbitral awards.

       28 U.S.C. § 1605(a), (a)(6). We have recognized that “the New
       York Convention ‘is exactly the sort of treaty Congress
       intended to include in the arbitration exception.’” Creighton,




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               After oral argument, we requested additional briefing by the
       United States as amicus curiae, inviting it to provide its views on
       whether the United States, as a party to the New York Convention,
       impliedly waives sovereign immunity from actions seeking
       recognition and enforcement of foreign arbitral awards in the courts
       of other New York Convention states by becoming a party to the
       Convention and agreeing to arbitrate a dispute in a Convention state.
       As the United States explained, our application of the waiver
       exception to the FSIA “may have implications for the treatment of
       the United States in foreign courts and for our relations with foreign
       states.” Br. for United States 1, 14–16. Given these significant policy
       concerns and the ready applicability of the arbitration exception, we
       find it unnecessary to wade into the murky waters of the waiver
       exception. We thank the United States for submitting its views.
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       181 F.3d at 123–24 (quoting Cargill Int’l S.A. v. M/T Pavel
       Dybenko, 991 F.2d 1012, 1018 (2d Cir. 1993)).

            The application of the arbitration exception here is
       straightforward, as all of the jurisdictional facts required by the
       statute exist. 28 U.S.C. § 1605(a)(6); see LLC SPC Stileks v.
       Republic of Moldova, 985 F.3d 871, 877 (D.C. Cir. 2021)
       (“[T]he existence of an arbitration agreement, an arbitration
       award and a treaty governing the award are all jurisdictional
       facts that must be established.”). P&ID’s contract with Nigeria
       included an agreement to arbitrate. The arbitral tribunal issued
       an award to P&ID. And the New York Convention governs the
       award, as Nigeria, the United States and the United Kingdom
       are all member states.

            Nigeria contends that the arbitration exception does not
       apply because P&ID lacks a valid and enforceable arbitral
       award. Nigeria argues that the award is not valid and
       enforceable because, in its view, the Federal High Court of
       Nigeria set aside the arbitral tribunal’s liability award. For
       support, it cites Article V of the New York Convention, which
       states that “enforcement of the award may be refused” if it “has
       been set aside or suspended by a competent authority of the
       country in which, or under the law of which that award was
       made.”4 New York Convention, art. V(1)(e). As we have made
       clear, the validity or enforceability of an arbitral award is a
       merits question. See Diag Human, S.E. v. Czech Republic–
       Ministry of Health, 824 F.3d 131, 137–38 (D.C. Cir. 2016)
       (legitimacy of award reversed by appellate arbitration panel did
       not affect district court’s subject matter jurisdiction because
       “[w]hether the arbitration award is final will be a question
       going to the merits of the case”). Thus, Nigeria’s argument is

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              We need not decide at this stage whether the Nigerian court
       possessed authority to set aside the arbitral tribunal’s liability award
       to P&ID.
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       foreclosed by our precedent on the arbitration exception and
       the district court need not determine the validity of the arbitral
       award as part of its jurisdictional inquiry.

            Because the requirements of the arbitration exception
       under § 1605(a)(6) are satisfied, Nigeria’s sovereign immunity
       has been abrogated. The district court possesses subject matter
       jurisdiction. Accordingly, we affirm.

                                                            So ordered.
